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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR02-0210-JCC
10                             Plaintiff,                   ORDER
11          v.

12   MICHELLE M. LEE, a/k/a Myung Mi Lee,

13                             Defendant.
14

15          This matter comes before the Court sua sponte. This case has been maintained under seal
16   since 2000. In June 2002, Defendant was indicted and an arrest warrant was issued. (Dkt. Nos. 3,
17   4.) In August 2018, the Court granted the Government’s request for leave to dismiss the charges
18   and quashed the outstanding warrant. (Dkt. Nos. 5, 6.) On January 7, 2019, the Court ordered the
19   Government to show cause why this case should be maintained under seal (Dkt. No. 7), and the
20   Government responded that it takes no position as to sealing and defers to the Court. (Dkt. No.
21   8.) As the charges in this case have been dismissed and the warrant quashed, the Court hereby
22   DIRECTS the Clerk to unseal this case.
23          //
24          //
25          //
26          //


     ORDER
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 1         DATED this 25th day of January 2019.




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                                                  John C. Coughenour
 5                                                UNITED STATES DISTRICT JUDGE
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     ORDER
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